Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                     Page 1 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                     Page 2 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                     Page 3 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                     Page 4 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                     Page 5 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                     Page 6 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                     Page 7 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                     Page 8 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                     Page 9 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                    Page 10 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                    Page 11 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                    Page 12 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                    Page 13 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                    Page 14 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                    Page 15 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                    Page 16 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                    Page 17 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                    Page 18 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                    Page 19 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                    Page 20 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                    Page 21 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                    Page 22 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                    Page 23 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                    Page 24 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                    Page 25 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                    Page 26 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                    Page 27 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                    Page 28 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                    Page 29 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                    Page 30 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                    Page 31 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                    Page 32 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                    Page 33 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                    Page 34 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                    Page 35 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                    Page 36 of 37
Case 14-41117   Doc 1-1   Filed 11/13/14 Entered 11/13/14 14:48:57   Desc Petition
                                    Page 37 of 37
